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                                                         ,34 6-+
                                            %376-+42 ".564.)6 3, #+8 '34/
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                                                     *D<< '2@C:?> ?7 ,2C6A *:<65 '2B6%

CITY OF MIAMI GENERAL EMPLOYEES
& SANITATION EMPLOYEES
RETIREMENT TRUST, derivatively on
behalf of JPMorgan Chase & Co.

                                         /<2:>C:77                                        '2B6 -D=36A


                                                                        1:23-cv-05459
                                           EB$

JAMES DIMON, STEPHEN B. BURKE,
TODD A. COMBS, JAMES S. CROWN,
TIMOTHY P. FLYNN, MELLODY HOBSON,
JOHN W. KESSLER, PHEBE N.
NOVAKOVIC, and JAMES E. STALEY,
                                        (676>52>C

                                                     *D<< '2@C:?> ?7 )2A<:6A *:<65 '2B6%
                                      !:>4<D5:>8 :> 32>;AD@C4G 2@@62<B C96 A6<6E2>C 25E6AB2AG @A?4665:>8"

OPERATING ENGINEERS
CONSTRUCTION INDUSTRY AND
MISCELLANEOUS
PENSION FUND

                                         /<2:>C:77                                        '2B6 -D=36A

                                                                        1:23-cv-03903
                                           EB$
JAMES DIMON, ASHLEY BACON,
LINDA B. BAMMANN, JAMES A. BELL,
JOHN H. BIGGS, CRANDALL C.
BOWLES, STEPHEN B. BURKE, TODD A.
COMBS, DAVID M. COTE, JAMES S.
CROWN, MARY C. ERDOES, TIMOTHY
P. FLYNN, ELLEN V. FUTTER,
MELLODY HOBSON, JOHN J. HOGAN,
LABAN P. JACKSON, JR., JOHN W.
KESSLER, ROBERT I. LIPP, RICHARD A.
MANOOGIAN, MICHAEL A. NEAL,
DAVID C. NOVAK, LEE R. RAYMOND,
JAMES E. STALEY, WILLIAM C.
WELDON, and BARRY L. ZUBROW,


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0C2CDB ?7 )2A<:6A *:<65 '2B6%
                           !+7 B?# B6C 7?AC9 C96 @A?465DA6 F9:49 A6BD<C65 :> 4<?BDA6# 6$8$# E?<D>C2AG
        1111 '<?B65        5:B=:BB2<# B6CC<6=6>C# 4?DAC 564:B:?>$ &<B?# BC2C6 F96C96A C96A6 :B 2> 2@@62<
                           @6>5:>8$"

     1111 .@6>             !+7 B?# B6C 7?AC9 @A?465DA2< BC2CDB 2>5 BD==2A:H6 2>G 4?DAC AD<:>8B$"
Plaintiff filed its complaint on May 9, 2023. A telephonic pretrial conference is scheduled for June 27, 2023.




*D=918; 8; 34@189 @74 >41?<;? 5<> E<A> =<?8@8<; @71@ @74 ;4C9E 58943 21?4 8? >491@43 @< @74
41>984> 58943 21?4"
The newly-filed litigation and earlier-filed litigation arise from a common nucleus of operative
fact related to Epstein's longstanding history as a client of JP Morgan, and JP Morgan's
concealment and/or failure to report Epstein's suspicious banking practices to regulators.
Both the earlier-filed litigation and the newly-filed litigation seek to hold the board of directors
of JP Morgan liable for breaching their fiduciary duties by failing to properly oversee JP
Morgan's relationship with Epstein and JP Morgan's compliance with applicable banking laws
and regulations, and thereby allowing JP Morgan's misconduct related to Epstein to occur.




              /s/ Mark Lebovitch
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               Bernstein, Litowitz, Berger & Grossmann
+8>:(         1111111111111111111111111111111111111111


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